                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                           Civil Action No. 5:19-cv-327-FL

MANUEL TORRES,                                )
                                              )
                            Plaintiff,        )
vs.                                           )           ANSWER TO PLAINTIFF’S
                                              )              COMPLAINT BY
TRACY LYNN CARTER, in his                     )               DEFENDANT
official capacity as Lee County Sheriff;      )            TRACY LYNN CARTER
TOWN OF SILER CITY, NORTH                     )
CAROLINA; and TOWN OF APEX,                   )
NORTH CAROLINA,                               )
                                              )
                            Defendants.       )



        NOW COMES defendant TRACY LYNN CARTER, sued solely in his official

capacity as the duly elected and sworn Sheriff of Lee County, North Carolina, by and

through counsel, and hereby responds to the correspondingly numbered allegations set

forth in the Plaintiff’s Complaint as follows:

        1.      It is admitted that Plaintiff Manuel Torres was formerly a duly appointed

and sworn Lee County Deputy Sheriff from October 22, 2012 until September 11, 2017.

It is further admitted that the Plaintiff has instituted the instant action in which he alleges,

erroneously, that Sheriff Carter discriminated against the Plaintiff based upon the

Plaintiff’s religious beliefs, and that Sheriff Carter further retaliated against him in

response to his request for accommodation of his religious beliefs. These allegations are

false. It is denied that the Plaintiff’s rights were violated in any manner by Sheriff Carter

or any of his subordinates, to include any religious discrimination or any unlawful failure



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to accommodate his religious beliefs. It is further denied that the Plaintiff was subjected

to any retaliation whatsoever by Sheriff Carter or his subordinations for any reason, to

include his having requested accommodation for his religious beliefs or Plaintiff having

filed complaint(s) with the Equal Employment Opportunity Commission. To the contrary,

the termination of the Plaintiff’s employment as a Lee County Deputy Sheriff was entirely

lawful and based upon non-discriminatory and non-retaliatory reasons.            Except as

expressly admitted herein, the allegations contained in Paragraph 1 of the Plaintiff’s

Complaint are denied, it being further denied that Sheriff Carter or any of his subordinates

engaged in any unlawful conduct against the Plaintiff, denied that Sheriff Carter is liable

to the Plaintiff in any manner, and denied that the Plaintiff is entitled to any recovery or

relief whatsoever.

       2.      It is admitted that this Court has original jurisdiction over the Plaintiff’s

federal claims asserted in this matter, which have no merit whatsoever. It is further

admitted that the Court has the discretion to exercise supplemental jurisdiction over the

Plaintiff’s state law claim, which likewise has no merit. Except as expressly admitted

herein, the Plaintiff’s allegations contained in Paragraph 2 of the Complaint are denied,

including Plaintiff’s allegation that Sheriff Carter “enjoys no immunity from the claims

alleged in this complaint.”

       3.      It is admitted that one of the named defendants, the Town of Apex, is

geographically situated within the Eastern District of North Carolina.         It is further

admitted that the Plaintiff, Sheriff Carter, and defendant Town of Siler City all reside or

are otherwise geographically situated within the Middle District of North Carolina. It is


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denied that “a substantial part of the events or omissions giving rise to the claims

occurred” in the Eastern District of North Carolina. In any event, Sheriff Carter does not

object to this case being assigned to the Honorable Louise W. Flanagan.

        4.      It is admitted, upon belief, that the Plaintiff is a citizen of the United States

and a resident of Sanford, Lee County, North Carolina. It is further admitted that the

Plaintiff was a duly appointed and sworn Lee County Deputy Sheriff from October 22,

2012 until September 11, 2017. It is further admitted that the Plaintiff was qualified and

certified to serve as a Lee County Deputy Sheriff, holding the position of Corporal.

Except as expressly admitted herein, the allegations contained in Paragraph 4 of the

Complaint constitute legal conclusions to which no response is required on the part of

Sheriff Carter. To the extent any response is required on the part of the Sheriff Carter,

these allegations are denied.

        5.      It is admitted that Tracy Lynn Carter is the duly elected and sworn Sheriff

of Lee County, North Carolina. It is further admitted that Sheriff Carter exercises those

duties and responsibilities incumbent upon him as the Sheriff of Lee County pursuant to

the North Carolina Constitution and the statutes and regulations of the State of North

Carolina. It is further admitted that pursuant to North Carolina law, including N.C. Gen.

Stat. § 162-24, a county sheriff has the authority to hire and dismiss his/her deputy

sheriffs, detention officers, and other subordinates and employees at will. Except as

expressly admitted herein, the allegations contained in Paragraph 5 of the Complaint

constitute legal conclusions to which no response is required by Sheriff Carter. To the




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extent any response is required on the part of the Sheriff Carter, these allegations are

denied.

          6.      It is admitted that the Town of Siler City is a municipality geographically

situated within Chatham County, North Carolina. Except as expressly admitted, the

allegations contained in Paragraph 6 of the Complaint pertain to a defendant other than

Sheriff Carter, such that no response is required on the part of Sheriff Carter. To the

extent that any response is required on the part of Sheriff Carter as to Plaintiff’s

allegations pertaining to defendant Town of Siler City, Sheriff Carter lacks knowledge

sufficient to form a belief as to the truth or falsity of the allegations contained in

Paragraph 6 of the Complaint, and the same are consequently denied.

          7.      It is admitted that the Town of Apex is a municipality geographically

situated within Wake County, North Carolina.              Except as expressly admitted, the

allegations contained in Paragraph 6 of the Complaint pertain to a defendant other than

Sheriff Carter, such that no response is required on the part of Sheriff Carter. To the

extent that any response is required on the part of Sheriff Carter as to Plaintiff’s

allegations pertaining to defendant Town of Apex, Sheriff Carter lacks knowledge

sufficient to form a belief as to the truth or falsity of the allegations contained in

Paragraph 7 of the Complaint, and the same are consequently denied.

          8.      It is admitted, upon information and belief, that the Plaintiff filed a Charge

of Discrimination with the Equal Employment Opportunity Commission (“EEOC”) on

November 9, 2017, which was assigned the Charge Number 433-2018-00419. It is further

admitted that this Charge of Discrimination speaks for itself.          Except was expressly


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admitted herein, the allegations contained in Paragraph 8 of the Complaint are denied, it

being further denied that the Plaintiff’s rights were violated in any manner whatsoever.

        9.      It is admitted that the EEOC issued a Notice of Right to Sue with respect to

Plaintiff’s EEOC Charge No. 433-2018-00419 to the Plaintiff on April 29, 2019. Upon

information and belief, the Plaintiff failed to file the instant suit within the time allowed

by law, such that the Plaintiff’s claims are barred as a matter of law. Except as expressly

admitted herein, the allegations contained in Paragraph 9 of the Complaint are denied.

        10.     Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 10 of the Complaint, and the same are

consequently denied.

        11.     Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 11 of the Complaint, and the same are

consequently denied.

        12.     It is admitted, upon information and belief, that the Plaintiff filed a Charge

of Discrimination with the EEOC on July 23, 2018, which was assigned the Charge

Number 433-2018-02999. It is further admitted that this Charge of Discrimination speaks

for itself. Except was expressly admitted herein, the allegations contained in Paragraph 12

of the Complaint are denied, it being further denied that the Plaintiff’s rights were violated

in any manner whatsoever.

        13.     It is admitted that the EEOC issued its Notice of Right to Sue with respect

to Plaintiff’s EEOC Charge No. 433-2018-02999 to the Plaintiff on April 29, 2019.

Upon information and belief, the Plaintiff failed to file the instant suit within the time


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allowed by law, such that the Plaintiff’s claims are barred as a matter of law. Except as

expressly admitted herein, the allegations contained in Paragraph 13 of the Complaint are

denied.

       14.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 14 of the Complaint, and the same are

consequently denied.

       15.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 15 of the Complaint, and the same are

consequently denied.

       16.    The allegations contained in Paragraph 16 of the Complaint are denied.

       17.    The allegations contained in Paragraph 17 of the Complaint are denied.

       18.    It is admitted that Plaintiff Manuel A. Torres is a male.        It is further

admitted, upon information and belief, that the Plaintiff is currently fifty-two (52) years

old. Except as expressly admitted herein, Sheriff Carter lacks knowledge sufficient to

form a belief as to the truth or falsity of the remaining allegations contained in Paragraph

18 of the Complaint, and the same are consequently denied.

       19.    The allegations contained in Paragraph 19 of the Complaint are admitted

upon information and belief.

       20.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 20 of the Complaint, and the same are

consequently denied.




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       21.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 21 of the Complaint, and the same are

consequently denied. It is further denied that the Plaintiff’s conduct and behavior prior to

June/July 2017, insofar as it was known to Sheriff Carter, was consistent with the

religious beliefs as alleged by the Plaintiff in Paragraph 21 of the Complaint.

       22.    It is admitted that the Plaintiff was sworn as a Lee County Deputy Sheriff

on October 22, 2012. It is further admitted that the Plaintiff was subsequently appointed

to the position of Corporal. It is further admitted that the Plaintiff’s service as a Lee

County Deputy Sheriff was lawfully terminated on September 11, 2017 due to Plaintiff’s

toxic attitude, insubordination, his constant complaining to others that his Sergeant was

incompetent, and Plaintiff’s clear lack of desire to continue serving as a Lee County

Deputy Sheriff, all of which led to Sheriff Carter losing confidence in the Plaintiff’s

performance of his duties. Except as expressly admitted herein, the allegations contained

in Paragraph 22 of the Complaint are denied.

       23.    It is admitted that as a Lee County Deputy Sheriff, the Plaintiff was

responsible for working closely with other Lee County Deputy Sheriffs, as well as other

law enforcement officers, a significant percentage of whom are female.            Plaintiff’s

responsibilities as a Lee County Deputy Sheriff (which are generally consistent with the

duties of other law enforcement officers across the United States) included partnering with

female Deputies, answering calls with female Deputies, and investigating crimes with

female Deputies on a regular basis, as well as interacting with victims of crime, witnesses

to crimes, and citizens in need of assistance on a daily basis (including female crime


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victims, witnesses and other citizens), as well as arresting, securing, searching,

questioning and transporting criminal suspects, many of whom might be female. It is

further admitted that interacting with female law enforcement officers and citizens, often

alone for significant periods of time, is a basic and unavoidable responsibility of a law

enforcement officer. It is further admitted that in his position as a Corporal in the Patrol

Division, which he voluntarily accepted and assumed, Plaintiff was responsible for

helping to train and mentor new Deputy Sheriffs, including those who might happen to be

female. It is further admitted that in training new Deputies, a training officer typically

spends significant time alone with the new Deputy, including riding with him/her in a

patrol car, attending calls with him/her, and assisting him/her with completing paperwork,

in addition to other duties and tasks. It is further admitted that the Plaintiff was aware of

these responsibilities when he accepted his appointment to Corporal. It is further admitted

that the Plaintiff had previously worked closely with female Deputies on numerous

occasions over the course of several years, including working with and training them

alone, doing so without any expressed reservations or concerns.       It is further admitted

that, as he had done in the past (without having expressed any reservations in doing so),

and as was his responsibility as a senior Lee County Sheriff’s Deputy, the Plaintiff was

tasked in June and July 2017 to help train a new Deputy, Casey Burton, who happened to

be female. Except as expressly admitted herein, the allegations contained in Paragraph 23

of the Complaint are denied.




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       24.    It is admitted that the Plaintiff’s responsibilities as a Corporal, which he

had freely and knowingly accepted, included training new Deputies, some of whom

might be female. It is further admitted that the Plaintiff had previously trained new

female deputies in the past while serving as a Lee County Deputy Sheriff, including

Deputy (now Detective) Turnmire in 2015, without expressing any complaint or apparent

reservations in doing so. It is further admitted that as part of training Deputy Turnmire,

the Plaintiff rode with her alone in his patrol car and otherwise was alone with her for

significant periods of time. Except as expressly admitted, Sheriff Carter lacks knowledge

or information sufficient to form a belief as to the truth or falsity of the allegations

contained in Paragraph 24 of the Complaint, and the same are consequently denied.

       25.     It is admitted that on or about June 15, 2017, the Plaintiff expressed to a

fellow male Deputy Sheriff that Plaintiff’s wife had demanded that he not allow Deputy

Burton to ride with him in his patrol car and that Plaintiff and his wife had been arguing

on a daily basis about Plaintiff riding with Deputy Burton. It is further admitted that the

Plaintiff told this male Deputy that he was tired of arguing with his wife about this issue.

It is further admitted that the Plaintiff subsequently complained to his Sergeant, Sergeant

Jeff Oldham, that he no longer wanted to work with Deputy Casey Burton, whom Plaintiff

had trained during several previous shifts without complaint, because the Plaintiff and his

wife were having marital problems and that she did not want him working with female

deputies. Except as expressly admitted herein, the allegations contained in Paragraph 25

of the Complaint are denied, it being further denied that Plaintiff’s initial request to no

longer work with Deputy Burton was based upon the Plaintiff’s religious beliefs.


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        26.    It is admitted that whenever it was possible to do so, Plaintiff’s superior

officer, Sergeant Oldham, did his best to accommodate Plaintiff’s request to not ride or

work with Deputy Burton. However, given the small size of the Lee County Sheriff’s

Office and the limited number of Deputies on duty during certain times of the day and

night, and the limited availability of experienced senior officers like the Plaintiff who

were qualified to train new Deputies, it was not always possible to accommodate the

Plaintiff’s request. It is further admitted that any inability to accommodate the Plaintiff’s

request to not work alone with female deputies had nothing to do with any discrimination

against, or lack of respect for, the Plaintiff’s religious beliefs, but instead had everything

to do with providing adequate law enforcement services for the citizens of Lee County,

which is the prime responsibility for the Sheriff of Lee County and his Deputy Sheriffs. It

is further admitted that the Sheriff of Lee County owes his new Deputies -- regardless of

whether they are male or female -- thorough, rigorous and effective training to ensure their

safety and their ability to become effective, responsible and professional law enforcement

officers. It is further admitted that accommodating the Plaintiff’s demands that he never

have to work alone with female Deputies imposed a serious hardship upon the Sheriff of

Lee County and the Plaintiff’s fellow Deputies. Except as expressly admitted herein, the

allegations contained in Paragraph 26 of the Complaint are denied.

        27.    It is admitted that the Plaintiff communicated with his and Sergeant

Oldham’s superiors, Lieutenant Darin Smith and Captain Brian Estes, regarding his

refusal to work with female deputies. It is further admitted that Lieutenant Smith and

Captain Estes advised the Plaintiff that they would look into the issue. It is further


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admitted that Lieutenant Smith and Captain Estes orally counseled the Plaintiff regarding

his ongoing disrespect for Sergeant Oldham, the Plaintiff’s superior officer, against whom

the Plaintiff was openly bitter for Sergeant Oldham having been selected for promotion to

Sergeant over the Plaintiff. Except as expressly admitted herein, the allegations contained

in Paragraph 27 of the Complaint are denied, it being further denied that either Lieutenant

Smith or Captain Estes made any promises to the Plaintiff, and further denied that the

Plaintiff was or is entitled to any absolute accommodation of his demand that he never

have to work alone with any females.

       28.     The allegations contained in Paragraph 28 of the Complaint are denied.

The Plaintiff’s allegations that Sergeant Oldham did not respond in support of the Plaintiff

because the Plaintiff had spoken with Lieutenant Smith and Captain Estes are utterly false.

To the contrary, at the time that the Plaintiff radioed for law enforcement support in

connection with the multi-vehicle accident referenced in Paragraph 28 of the Complaint,

Sergeant Oldham and the two other Lee County Sheriff’s patrol deputies on duty late that

night (including Deputy Burton, who was riding with Sergeant Oldham instead of riding

with the Plaintiff because the Plaintiff refused to ride with her) were inside Central

Carolina Hospital after transporting a female mental patient there.        Neither Sergeant

Oldham, Deputy Burton nor Deputy Weston had radio reception inside of Central

Carolina Hospital, and they therefore did not hear the Plaintiff’s radio call for assistance.

As soon as Sergeant Oldham became aware of the Plaintiff’s situation, he immediately

responded to support the Plaintiff. The Plaintiff’s allegations that “the LCSO refused or




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neglected” to provide backup to the Plaintiff are completely false and are denied. In sum,

the allegations contained in Paragraph 28 of the Complaint are denied.

       29.      It is admitted that the Plaintiff spoke with Chief Deputy Randall Butler on

or about September 6, 2017, in the present of Captain Estes. It is further admitted that the

Plaintiff expressed to Chief Deputy Butler that he would not work alone with female

deputies.    It is further admitted that Chief Deputy Butler expressed his concern that the

Plaintiff’s refusal to work alone with female officers might have the effect of

discriminating against female officers.     It is further admitted that Chief Deputy Butler

asked the Plaintiff if his religious beliefs would prevent him from being able to come to

the aid of a female officer.       It is further admitted that the Plaintiff’s hesitation in

responding to this question, and his half-hearted response thereto, caused Chief Deputy

Butler concern.    It is further admitted that Chief Deputy Butler counseled the Plaintiff

regarding his ongoing and open disrespect for Sergeant Oldham, his superior officer. It is

further admitted that Chief Deputy Butler suggested to the Plaintiff that he consider

relinquishing the position of Corporal and/or moving to another squad, away from

Sergeant Oldham, in order to address these issues, suggestions that the Plaintiff

immediately and flatly rejected.    It is further admitted that Chief Deputy Butler advised

the Plaintiff that he would think further on the matter and try to come up with a solution

that would accommodate the Plaintiff’s demands as much as possible. It is denied that

Chief Deputy Butler became angry at any point during this conversation with the Plaintiff,

or at any other time with the Plaintiff.     Except as expressly admitted, the allegations

contained in Paragraph 29 of the Complaint are denied.


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          30.   It is admitted that on September 8, 2017, the Plaintiff was openly

disrespectful and hostile during a telephone conversation with Captain Estes, including the

Plaintiff hanging up on Captain Estes. It is further admitted that as a result of the

Plaintiff’s toxic and poor attitude, during which the Plaintiff expressed that he was not

happy working for the Sheriff of Lee County, Captain Estes instructed the Plaintiff to go

home for the remainder of his shift and that he should attend a meeting on Monday

morning, September 11, 2017. It is admitted that on September 11, 2017, the Sheriff of

Lee County terminated the Plaintiff’s employment due to his toxic attitude and ongoing

insubordinate and disrespectful behavior, including his open disrespect to Sergeant

Oldham, Captain Estes and Chief Deputy Butler. It is further admitted that on September

11, 2017, Chief Deputy Butler notified the Plaintiff in person that his services were no

longer required by the Sheriff of Lee County.      Except as expressly admitted herein, the

allegations contained in Paragraph 30 of the Complaint are denied.

          31.   It is admitted, upon information and belief, that the Plaintiff filed a Charge

of Discrimination with the EEOC on November 9, 2017, which speaks for itself.            It is

denied that the allegations set forth in this Charge of Discrimination are true.

          32.   The allegations contained in Paragraph 32 of the Complaint are denied.

          33.   It is admitted, upon information and belief, that the Plaintiff filed a second

Charge of Discrimination, identified as Charge No. 433-2018-02999, which speaks for

itself.    It is denied that the Sheriff of Lee County engaged in any discrimination,

retaliation or other unlawful conduct toward the Plaintiff at any time. Except as expressly

admitted herein, the allegations contained in Paragraph 33 of the Complaint are denied.


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      34.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 34 of the

Complaint, and the same are consequently denied.

      35.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 35 of the

Complaint, and the same are consequently denied.

      36.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 36 of the

Complaint, and the same are consequently denied.

      37.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 37 of the

Complaint, and the same are consequently denied.

      38.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 38 of the

Complaint, and the same are consequently denied.

      39.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 39 of the

Complaint, and the same are consequently denied.

      40.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 40 of the

Complaint, and the same are consequently denied.




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       41.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 41 of the

Complaint, and the same are consequently denied.

       42.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 42 of the

Complaint, and the same are consequently denied.

       43.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 43 of the

Complaint, and the same are consequently denied.

       44.    The allegations contained in Paragraph 44 of the Complaint are denied.

       45.    The allegations contained in Paragraph 45 of the Complaint are denied.

       46.    Defendant Sheriff Carter lacks knowledge or information sufficient to form

a belief as to the truth or falsity of the allegations contained in Paragraph 46 of the

Complaint, and the same are consequently denied, it being further denied that Sheriff

Carter engaged in any unlawful conduct with regard to the Plaintiff.

                                      COUNT I:
                     Title VII Claim for Religious Discrimination
                              (Against Defendant LCSO)

       47.    Defendant Sheriff Carter hereby incorporates by reference his responses to

Paragraphs 1 through 46 of the Complaint as if fully set forth herein.

       48.    The allegations contained in Paragraph 48 of the Complaint are denied.

       49.    The allegations contained in Paragraph 49 of the Complaint are denied.

       50.    The allegations contained in Paragraph 50 of the Complaint are denied.


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       51.    It is admitted that the Sheriff of Lee County accommodated the Plaintiff’s

demand that he never work alone with any female deputies when it was possible to do so.

It is further admitted that as a matter of law, the Plaintiff was not, and is not, entitled to

an absolute accommodation that he never have to work alone with female deputies. It is

further admitted that in a law enforcement agency as small as the Lee County Sheriff’s

Office, accommodating the Plaintiff’s demand that he never have to work alone with

females imposed a serious hardship upon the Sheriff of Lee County and his staff, and, if

not being a total impossibility, at a minimum unfairly affected the work schedules of, and

the allocation of responsibilities among, other Lee County Sheriff’s Deputies and

otherwise impeded the ability of the Sheriff of Lee County to perform his core law

enforcement functions. Except as expressly admitted herein, the allegations contained in

Paragraph 51 of the Complaint are denied.

       52.    The allegations contained in Paragraph 52 of the Complaint are denied; it

being further denied that Plaintiff’s demand that he never have to work alone with

females could be reasonably accommodated.

       53.    The allegations contained in Paragraph 53 of the Complaint are denied.

       54.    The allegations contained in Paragraph 54 of the Complaint are denied; it

being further denied that Sheriff Carter violated the Plaintiff’s rights in any manner. It is

further denied that the Plaintiff is entitled to any recovery or relief whatsoever.




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                                      COUNT II:
                              Retaliation Under Title VII
                               (Against All Defendants)

       55.    Defendant Sheriff Carter hereby incorporates by reference his responses to

Paragraphs 1 through 54 of the Complaint as if fully set forth herein.

       56.    The allegations contained in Paragraph 56 of the Complaint are denied.

       57.    The allegations contained in Paragraph 57 of the Complaint are denied.

       58.    The allegations contained in Paragraph 58 of the Complaint are denied.

       59.    It is admitted that after the Plaintiff was lawfully terminated from his

service for the Sheriff of Lee County for non-discriminatory and non-retaliatory reasons,

he filed charges of discrimination with the EEOC alleging religious discrimination and

retaliation. It is further admitted that the Plaintiff’s allegations are false. Except as

expressly admitted herein, the allegations contained in Paragraph 59 of the Complaint are

denied.

       60.    It is admitted that any claim by the Plaintiff that he was terminated by the

Sheriff of Lee County because of his requests for religious accommodation are false.

Except as expressly admitted herein, Sheriff Carter lacks knowledge sufficient to form a

belief as to the truth or falsity of the allegations contained in Paragraph 60 of the

Complaint, to include what the Town of Siler City may or may not have done, and the

same are consequently denied.

       61.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 61 of the Complaint and the same are

consequently denied.


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       62.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 62 of the Complaint and the same are

consequently denied; it being further denied that Sheriff Carter or any of his subordinates

acted wrongfully or improperly in any manner.

       63.    The allegations contained in Paragraph 63 of the Complaint are admitted

upon information and belief.

       64.     The allegations contained in Paragraph 64 of the Complaint are denied.

       65.    Sheriff Carter lacks knowledge sufficient to form a belief as to the truth or

falsity of the allegations contained in Paragraph 65 of the Complaint, to include what the

Town of Apex may or may not have done and the same are consequently denied; it being

further denied that Sheriff Carter or any of his subordinates acted wrongfully or

improperly in any manner.

       66.    The allegations contained in Paragraph 66 of the Complaint are denied; it

being further denied that Sheriff Carter violated the Plaintiff’s rights in any manner. It is

further denied that the Plaintiff is entitled to any recovery or relief whatsoever.

                                      COUNT III:
                               Retaliation Under Title VII
                               (Against Defendant LCSO)

       67.    Defendant Sheriff Carter hereby incorporates by reference his responses to

Paragraphs 1 through 66 of the Complaint as if fully set forth herein.

       68.    It is admitted that the public policy of the State of North Carolina speaks

for itself. Except as expressly admitted herein, the allegations contained in Paragraph 68




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of the Complaint are denied, it being further denied that Sheriff Carter has violated the

public policy of the State of North Carolina in any manner alleged by the Plaintiff.

       69.    The allegations contained in Paragraph 69 of the Complaint constitute legal

conclusions for which no response is required on the part of Sheriff Carter. To the extent

that any response is required on the part of Sheriff Carter to these allegations, it is

admitted that N.C. Gen. Stat. § 143-422.2, et. seq. speaks for itself. Except as expressly

admitted, the allegations contained in Paragraph 69 of the Complaint are denied; it being

further denied that the Plaintiff’s rights were violated in any manner.

       70.    The allegations contained in Paragraph 70 of the Complaint are denied, it

being further denied that the Plaintiff’s refusal to work alone with females is a protected

category within the meaning of N.C. Gen. Stat. § 143-422.2, et. seq.

       71.    The allegations contained in Paragraph 71 of the Complaint are denied.

       72.    The allegations contained in Paragraph 72 of the Complaint are denied; it

being further denied that the Plaintiff is entitled to any recovery or relief whatsoever.



       Any allegations not expressly admitted to hereinabove are denied.                    It is

further denied that the Plaintiff is entitled to any recovery whatsoever from Sheriff

Carter, including any compensatory damages, punitive damages, costs, or interest

set forth in Plaintiff’s Prayer for Relief, or any other relief or recovery.




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                              AFFIRMATIVE DEFENSES

                           FIRST AFFIRMATIVE DEFENSE

       Some or all of the claims set forth in the Plaintiff’s Complaint fail to state a claim

upon which relieve may be granted, and should be dismissed pursuant to Rule 12(b)(6) of

the Federal Rules of Civil Procedure.

                         SECOND AFFIRMATIVE DEFENSE

       The Plaintiff’s claims are barred by the applicable statute of limitations, to include,

upon information and belief, Plaintiff’s failure to file the instant lawsuit within 90-days of

receipt of Notice of Right to Sue letter(s) from the EEOC.

                          THIRD AFFIRMATIVE DEFENSE

       Upon information and belief, the Plaintiff has failed to pursue any state law

remedies, to include filing a contested case with the Office of Administrative Hearings

and otherwise exhausting his state remedies, prior to bringing the instant action.

Accordingly, this Court lacks subject matter jurisdiction over this action, which should be

dismissed pursuant to Rule 12(b)(1) of the Federal Rules of Civil Procedure.        See e.g.,

Davis v. North Carolina Dept. of Correction, 48 F.3d 134 (4th Cir. 1995).

                         FOURTH AFFIRMATIVE DEFENSE

       At all relevant times to the instant action, defendant Sheriff Carter’s actions were

based on legitimate, nondiscriminatory reasons as well as lawful motives.

                          FIFTH AFFIRMATIVE DEFENSE

       To the extent the Plaintiff’s claims are based on allegations not contained in

administrative complaints filed by the Plaintiff, such claims are barred. Moreover, to the


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extent the Plaintiff asserts claims that were not pursued via available state administrative

grievance procedures, the Plaintiff has failed to exhaust all available administrative

remedies, such that the Plaintiff’s claims are barred.

                          SIXTH AFFIRMATIVE DEFENSE

       Upon information and belief, the Plaintiff has failed to mitigate his damages, his

entitlement thereto being expressly denied.

                        SEVENTH AFFIRMATIVE DEFENSE

       Upon information and belief, the Plaintiff has failed to meet the statutory and/or

procedural prerequisites under Title VII and/or the relevant federal statutes for

maintenance of this legal action.

                         EIGHTH AFFIRMATIVE DEFENSE

       To the extent the Plaintiff’s claims under Title VII are based on events which

occurred more than 180 days before the filing of an EEOC charge, the claims are barred.

                          NINTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff seeks recovery of punitive damages from Sheriff Carter,

such recovery of punitive damages is barred both factually and as a matter of law.

                          TENTH AFFIRMATIVE DEFENSE

       Sheriff Carter pleads governmental immunity, sovereign immunity, good faith

immunity, qualified immunity, Eleventh Amendment immunity, and/or public officer’s

immunity as affirmative defenses. Such immunities are pled as a complete bar to this

lawsuit.




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                         ELEVENTH AFFIRMATIVE DEFENSE

          Any person or entity not identified as the alleged discriminating employer in

Plaintiff’s EEOC charge cannot be sued under Title VII.

                          TWELFTH AFFIRMATIVE DEFENSE

          The “Lee County Sheriff’s Office” is not a legal entity capable of being sued, and

is not an employer under any relevant statute or authority.

                        THIRTEENTH AFFIRMATIVE DEFENSE

          To the extent that Plaintiff’s Title VII claims may be based on allegations not

made in Plaintiff’s relevant charge(s) filed with the EEOC, the claims are barred.

                       FOURTEENTH AFFIRMATIVE DEFENSE

          At all times relevant to the matters set forth in the Complaint, Sheriff Carter and

his subordinates complied with all pertinent statutory and regulatory regulations and

laws, all of which are pled as a complete defense to the Plaintiff’s claims asserted in this

action.

                         FIFTEENTH AFFIRMATIVE DEFENSE

          At all times, Sheriff Carter and his subordinates acted in good faith and pursuant

to lawful motives with respect to the Plaintiff, and otherwise with respect to the matters

alleged in the Complaint.

                         SIXTEENTH AFFIRMATIVE DEFENSE

          The purported injuries complained of by the Plaintiff were not caused by, and did

not result from, any improper acts or omissions on the part of Sheriff Carter or any of his

subordinates.


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                     SEVENTEENTH AFFIRMATIVE DEFENSE

       The purported injuries complained of by the Plaintiff were a direct and proximate

result of the Plaintiff’s own acts and omissions.

                      EIGHTEENTH AFFIRMATIVE DEFENSE

       The purported injuries complained of by the Plaintiff were not caused by, and did

not result from, any improper acts or omissions on the part of Sheriff Carter or his

subordinates, but instead resulted from the acts and conducts of third parties for which

the defendants are not and cannot be liable.

                        FURTHER AFFIRMATIVE DEFENSES

       Defendant Sheriff Tracy Lynn Carter reserves the right to assert such other

affirmative defenses as may become available during the course of this litigation.



       WHEREFORE, Sheriff Tracy Lynn Carter prays unto the Court as follows:

       1.      That Plaintiff have and recover nothing of Sheriff Carter and that Plaintiff’s

claims against Sheriff Carter be dismissed with prejudice,

       2.      That Sheriff Carter’s costs in connection with the defense of this action be

taxed against the Plaintiff,

       3.      That Sheriff Carter have and recover from the Plaintiff his reasonable

attorney’s fees in this matter, and

       4.      For such other and further relief as the Court deems just and proper.




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Respectfully submitted, this the 28th day of August, 2019.


                           /s/ BRADLEY O. WOOD____________
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                           CERTIFICATE OF SERVICE

       I hereby certify that on August 28, 2019, I caused to be electronically filed the
foregoing ANSWER TO PLAINTIFF’S COMPLAINT BY DEFENDANT TRACY
LYNN CARTER with the Clerk of Court using CM/ECF system, which will send
notification of such filing to the following:

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Cary, NC 27518
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                                 /s/ BRADLEY O. WOOD____________
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